

Pfeiffer v Karlquist (2021 NY Slip Op 07451)





Pfeiffer v Karlquist


2021 NY Slip Op 07451


Decided on December 23, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 23, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., CARNI, LINDLEY, CURRAN, AND BANNISTER, JJ.


1095 CA 20-01510

[*1]NOAH R. PFEIFFER, PLAINTIFF,
vJOHN P. KARLQUIST, ET AL., DEFENDANTS. 
-JOHN P. KARLQUIST, ANNETT HOLDINGS, INC., INDIVIDUALLY AND DOING BUSINESS AS TMC TRANSPORTATION, AND NATIONAL TRUCK FUNDING, LLC, THIRD-PARTY PLAINTIFFS-RESPONDENTS,LAURIE MARSFELDER, THIRD-PARTY DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






SCHNITTER CICCARELLI MILLS, PLLC, WILLIAMSVILLE (PATRICIA S. CICCARELLI OF COUNSEL), FOR THIRD-PARTY DEFENDANT-APPELLANT.
BENNETT SCHECHTER ARCURI &amp; WILL LLP, BUFFALO (PETER D. CANTONE OF COUNSEL), FOR THIRD-PARTY PLAINTIFFS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Cattaraugus County (Ronald D. Ploetz, A.J.), entered November 5, 2020. The order denied the motion of third-party defendant for summary judgment dismissing the third-party complaint. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: December 23, 2021
Ann Dillon Flynn
Clerk of the Court








